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AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vv.
W. SAMUEL PATTEN Case Number: 18-CR-260
USM Number: 35416-0116

Stuart Alexander Sears

Defendant's Attomey

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THE DEFENDANT:

Wi pleaded guilty to count(s) _ One (1) of the Information. a FT L ~ 1D

(J pleaded nolo contendere to count(s) my ______MAY - 62019
which was accepted by the court,

Cwas found guiltyoncount(s) oe oes ae District & Bankruptcy
after a plea of not guilty. —_—ai ourts for the District of Columbia

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
22:612 and 618(a)(1); Foreign Agents Registration Act. 8/31/2018 1
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

LJ The defendant has been found not guilty on count(s)

CCount(s) O is (Care dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution.
the defendant must notify the court and United States attorney of material changes in economic circumstances.

4/12/2019

Date of Ifposition of Judgment

 

Amy Berman Jackson, United States District Judge
Name and Title of Judge

sl (4

Date
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Sheet 4—Probation

Judgment. Page 2 of 2B

DEFENDANT: W. SAMUEL PATTEN:

CASE NUMBER: 18-CR-260

PROBATION

You are hereby sentenced to probation for a term of :

Thirty Six (36) months on Count One (1) of the Information.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of placement on
probation and at least two periodic drug tests thereafter, as determined by the court.
C) The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future |
substance abuse. (check if applicable)
4. (4 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
0

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, e# seg.)

as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location

where you reside, work, are a student, or were convicted of a qualifying offensc. (check if applicable)

6. © You must participate in an approved program for domestic violence. (check if applicable)

C) You must make restitution in accordance with 18 U.S.C. $§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.

If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.

0. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
fines, or special assessments.

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You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 02/18) Judgment in a Criminal Case

Sheet 4A — Probation

Judgment: - Page 3 of 6

DEFENDANT: W. SAMUEL PATTEN
CASE NUMBER: 18-CR-260

STANDARD CONDITIONS OF SUPERVISION

As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition,

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2.

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9.

10.
ll.
12.

13.

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. [f notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.c., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court..

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature Date

 

 
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Sheet 4D — Probation

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DEFENDANT: W. SAMUEL PATTEN
CASE NUMBER: 18-CR-260

SPECIAL CONDITIONS OF SUPERVISION

DNA Sample Requirement - Pursuant to 42 USC § 14135a, for all felony offenses, the defendant shall submit to the
collection and use of DNA identification information while incarcerated in the Bureau of Prisons, or at the direction of the
United States Probation Office.

Community Service - The defendant is ordered to perform 500 hours of hands-on community service over the course of
his thirty six (36) month term of probation. This may not include attendance at church services or events or fund raising
activities.

Alcohol and Substance Abuse Treatment and Testing - The defendant shall participate in and successfully complete any
outpatient alcohol or substance abuse treatment program, which may include drug testing or detoxification and/or
attendance at AA meetings as approved and directed by the United States Probation Office. |

Mentat Health Treatment - The defendant shall continue to participate in a mental health treatment program, which may
include continuing with the outpatient counseling that is already in place, as approved by the United States Probation
Office. It will be a condition of the defendant's sentence that he continue, and that he executes all releases necessary for
the United States Probation Office to monitor the defendant's continued participation in that therapy.

Fine - It is a condition of the defendant's probation that he pay the fine, in accordance with a schedule that may be
established by the United States Probation Office, which will permit the defendant to complete the payment of the fine over
the entire course of the probationary period. The start time of any payment plan may be deferred to allow the defendant
time to find employment.

Financial Disclosure - The defendant must provide the United States Probation Office with his income tax returns,
authorization for the release of credit information, and information about any business or finances in which the defendant
has a control or interest until the payment of the fine has been satisfied.
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AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

 

Judgment — Pape 5 of 6
DEFENDANT: W. SAMUEL PATTEN
CASE NUMBER: 18-CR-260
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

 

Assessment JVTA Assessment® Fine Restitution
TOTALS $ 100.00 $ $ 5,000.00 $ 0.00
© The determination of restitution is deferred until _. An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

© The defendant must make restitution (including community restitution) to the following payees in the amount listed below,

If the defendant makes a partial payment, cach payee shall receive an approximately proportions? payment, unless specified otherwise in
the priority order or percentage payment column below. However. pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
before the United States is paid.
Name of Pavee Total Loss** Restitution Ordered Priority or Percentage
TOTALS § —__ 0.00 5 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

¥) ‘The court determined that the defendant docs not have the ability to pay interest and it 1s ordered that:
v7) the interest requirement is waived for the v1 fine (1 restitution.
(1) the interest requirement forthe (fine © restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22,

** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

Judgment — Page 6 of 6
DEFENDANT: W. SAMUEL PATTEN
CASE NUMBER: 18-CR-260

SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A ~-&_ Lump sum payment of $ 100.00 _ due immediately, balance due

DO snot later than _ ,or
Mi imaccordancewith O C, © D, QO E,or MW F below; or

 

 

B (© Payment to begin immediately (may be combined with OC, [] D,or )F below); or
C OO Payment in equal (e.g., weekly, monthly, quarterty) installments of $ over a period of
___ @g., months or years); to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (© Payment in equal (e.g., weekly, monthly, quarterly) installments of $= _sé over a period of
_ (eg., months or years), to commence ____ fe.g.. 30 or 60 days) after release from imprisonment to a
term of supervision; or
E © Payment during the term of supervised release will commence within _ (e.g., 30 or 60 days) after release from

imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that ime, of
F Special instructions regarding the payment of criminal monetary penalties:

The special assessment and fine are immediately payable to the Clerk of the Court for the U.S. District Court,
District of Columbia. Within 30 days of any change of address, you shall notify the Clerk of the Court of the change
until such time as the financial obligation is paid in full. The Court waives any interest or penalties that may accrue
on unpaid balances.

Payment of the fine shall be in accordance with a schedule to be established by the U.S. Probation Office.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penaltics is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

1 Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

Cs The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

(= ‘The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
